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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


In re: Shale Oil Antitrust Litigation
                                                    Case No.: 1:24-md-03119-MLG-LF
This Document Relates to:
                                                    Judge Matthew L. Garcia
In re: Shale Oil Antitrust Litigation

-and-

3Red Partners LLC v. Permian Resources
Corporation    f/k/a      Centennial Resource
Development, Inc., et al.
Case No. 1:25-cv-00447


           UNOPPOSED MOTION FOR ORDER GRANTING STIPULATED
         SCHEDULE FOR THE PROPOSED FUTURES & DERIVATIVES CLASS

        Plaintiff 3Red Partners LLC (“Plaintiff”) respectfully moves this Court to enter the

proposed Order Granting Stipulated Schedule for the Proposed Futures & Derivatives Class,

attached as Exhibit 1 to this motion. As noted in Paragraph 4 of the attached proposed order, to

ensure efficiency and preserve judicial resources, counsel for Plaintiffs and Defendants met and

conferred on case management issues, came to agreements on scheduling and preliminary matters,

and move the Court to enter the Order that memorializes the parties’ stipulations.

        In compliance with District of New Mexico Local Rule 7.1(a), counsel for Plaintiffs

conferred with counsel for Defendants who concur in the motion.
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                                            Respectfully submitted,

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                                            Counsel for Plaintiff and Putative Class


                                CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of June 2025, I filed the foregoing using the Court’s

CM/ECF system, which will send notice of the electronic filing to all counsel of record receiving

electronic notifications.


                                            /s/ Matthew M. Beck
                                            Matthew M. Beck


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